                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re:

Moose M. Scheib,                                     Case No. 21-42581
                                                     Chapter 7
                                                     Honorable Mark A. Randon
      Debtor.
________________________________/

 CHAPTER 7 TRUSTEE’S MOTION FOR TURNOVER OF DOCUMENTS

         Karen Evangelista, Chapter 7 Trustee (“Trustee”), through her attorneys, the

Taunt Law Firm, and for her Motion for Turnover of Documents (the “Motion”),

states as follows:

              1. On March 25, 2021, Moose M. Schieb (the “Debtor”) filed a

voluntary petition under Chapter 7 of the Bankruptcy code.

              2. Karen Evangelista (“Trustee”) is the duly appointed Chapter 7 Trustee

in this case.

         3.      As early as the §341 meeting of creditors (April 28, 2021), the Trustee

requested documents in this case, including but not limited to some of the

documents requested to be turned over in this Motion.

         4.      After the §341 meeting of creditors, counsel for the Trustee sent

written requests for information. The Debtor produced some, but not all of the

requested information.


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      5.     The documents requested by the Trustee all relate to property of the

estate, property of the Debtor, or the financial affairs of the Debtor.

      6.     The documents requested by the Trustee and which remain

outstanding are as follows (collectively, the “Documents”):

             A. All documents accounting of use of approximately $500,000 of
                proceeds from Kelly Jarrett including all bank statements where
                the funds were deposited (from point of deposit until funds are
                depleted), bank statements where funds were transferred (from
                point of transfer until funds depleted), withdrawal slips, copies of
                cashier/certified checks purchased, copies of checks written, and
                any other document to account for use of funds.
             B. All documents accounting of use of proceeds from sale of 11
                Bradford Court, Dearborn, MI, including all bank statements
                where funds were deposited (from point of deposit until funds
                depleted), bank statements where funds were transferred (from
                point of transfer until funds depleted), withdrawal slips, copies of
                cashier/certified checks purchased, copies of checks written, and
                any other document to account for use of funds.
             C. All documents establishing the existence of any loans (promissory
                notes and evidence of loan funding) related to the more than
                $89,000 of funds paid to Hassan Scheib and Own It realty from the
                sale of 11 Bradford Court
             D. All documents evidencing, effectuating, related to, or otherwise
                establishing, the disposition of the Debtor’s membership interest in
                American Loan Servicing, LLC.
             E. Deposit Account Statements, for the period of 1/1/2019, for any
                account in which: 1) Debtor owned the account, in whole or in
                part, 2) Debtor controlled the account (in whole or jointly with
                anyone else) and paid personal expenses from such account, or 3)
                funds belonging to the Debtor, or funds in which the Debtor had an
                interest, were deposited.



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      7.     Excluded from the requested Documents are the following account

statements, which have already been produced:

             A. CBIG CCS, LLC Account #0602# for the time periods of:
                    a. 1/1/17-12/29/17, and
                    b. 1/1/19-2/28/19
             B. Cedar Bey International Group, LLC, Acct #9183 for the periods
                of:
                    a. 1/1/17-12/29/17
                    b. and 1/1/19-1/31/19

      8.     Despite being requested by the Trustee, the Debtor has failed or

otherwise refused to turnover the above-referenced documents to the Trustee,

thereby necessitating the filing of this Motion.

      9.     The Debtor has an obligation and a duty to cooperate with the Trustee

and to turnover recorded information regarding the Debtor’s financial condition to

the Trustee. 11 U.S.C. §§ 521(a)(3), 521(a)(3), and 541.

      10.    Accordingly, pursuant to 11 U.S.C. §521 and §542, the Trustee asks

that this Court compel the turnover of the Documents from the Debtor.

      11.    The Documents requested are narrow in scope, tailored to the facts of

this case (not over generalized requests for production), and are proportional to the

needs of this case.

      12.    Pursuant to the exception present within Bankruptcy Rule 7001, an

adversary proceeding is not necessary when the relief requested is to compel the

Debtor to deliver documents to the Trustee.

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      WHEREFORE, the Trustee respectfully requests that this Court enter the

Order attached hereto as Exhibit 1.

                                                 THE TAUNT LAW FIRM

                                                 /s/ Dean R. Nelson, Jr.
Dated: November 30, 2021                         Dean R. Nelson, Jr. (P70818)
                                                 Attorney for Trustee
                                                 700 E. Maple Rd., Second Floor
                                                 Birmingham, MI 48009
                                                 (248) 644-7800
                                                 dnelson@tauntlaw.com




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                        Exhibit 1 – Proposed Order




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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:

Moose M. Scheib,                                  Case No. 21-42581
                                                  Chapter 7
                                                  Honorable Mark A. Randon
      Debtor.
________________________________/

                ORDER GRANTING TRUSTEE’S MOTION FOR
                      TURNOVER OF DOCUMENTS

         THIS MATTER having come before the court upon the Chapter 7 Trustee’s

Motion for Turnover of Documents (the “Motion”); the Debtor was served with

notice of the Motion; no objections to the Motion having been filed; the Court

having reviewed the Motion and finding just cause to enter this Order:

         IT IS ORDERED that the Motion is granted.

         IT IS FURTHER ORDERED that, pursuant to 11 U.S.C. §521 and §542,

Debtor Moose M. Scheib (the “Debtor”) must turnover to the Trustee the following

documents within fourteen (14) days after entry of this Order (collectively, the

“Documents”):

              A. All documents accounting of use of approximately $500,000 of
                 proceeds from Kelly Jarrett including all bank statements where
                 the funds were deposited (from point of deposit until funds are
                 depleted), bank statements where funds were transferred (from
                 point of transfer until funds depleted), withdrawal slips, copies of


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                 cashier/certified checks purchased, copies of checks written, and
                 any other document to account for use of funds.
            B.   All documents accounting of use of proceeds from sale of 11
                 Bradford Court, Dearborn, MI, including all bank statements
                 where funds were deposited (from point of deposit until funds
                 depleted), bank statements where funds were transferred (from
                 point of transfer until funds depleted), withdrawal slips, copies of
                 cashier/certified checks purchased, copies of checks written, and
                 any other document to account for use of funds.
            C.   All documents establishing the existence of any loans (promissory
                 notes and evidence of loan funding) related to the more than
                 $89,000 of funds paid to Hassan Scheib and Own It realty from the
                 sale of 11 Bradford Court
            D.   All documents evidencing, effectuating, related to, or otherwise
                 establishing, the disposition of the Debtor’s membership interest in
                 American Loan Servicing, LLC.
            E.   Deposit Account Statements, for the period of 1/1/2019, for any
                 account in which: 1) Debtor owned the account, in whole or in
                 part, 2) Debtor controlled the account (in whole or jointly with
                 anyone else) and paid personal expenses from such account, or 3)
                 funds belonging to the Debtor, or funds in which the Debtor had an
                 interest, were deposited.

      IT IS FURTHER ORDERED that, excluded from the definition of

Documents are the following account statements, which have already been

produced to the Trustee:

            A. CBIG CCS, LLC Account #0602# for the time periods of:
                   a. 1/1/17-12/29/17, and
                   b. 1/1/19-2/28/19
            B. Cedar Bey International Group, LLC, Acct #9183 for the periods
               of:
                   a. 1/1/17-12/29/17
                   b. and 1/1/19-1/31/19


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     IT IS FURTHER ORDERED that the Documents must be delivered to the

Trustee’s counsel, Dean Nelson, at 700 East Maple Road, Second Floor,

Birmingham, MI 48009 or via email at dnelson@tauntlaw.com.



IT IS SO ORDERED.




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                              Exhibit 2 - Notice




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                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:

Moose M. Scheib,                                  Case No. 21-42581
                                                  Chapter 7
                                                  Honorable Mark A. Randon
      Debtor.
________________________________/

            NOTICE OF REQUIREMENT OF WRITTEN RESPONSE
             FOR MOTION FOR TURNOVER OF DOCUMENTS

       Karen Evangelista, Chapter 7 Trustee has filed papers with the court seeking
the turnover by the Debtor of certain documents.

      Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one).

      If you do not want the court to grant the requested relief, or if you would like
the court to consider your views on this motion, within fourteen (14) days you or
your attorney must:

   a. File with the Court a written response or an answer, explaining your position
      at: United States Bankruptcy Court, 211 W. Fort Street, Attn: Clerk of
      the Court, Detroit, MI 48226. If you mail a response to the Court for filing,
      you must mail it early enough so the court will receive it on or before the date
      stated above. All attorneys are required to file pleadings electronically.

         You must also mail a copy to:   Dean Nelson
                                         The Taunt Law Firm
                                         700 East Maple Road, 2nd Floor
                                         Birmingham, MI 48009-6359




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  b. If a response or answer is timely filed and served, the clerk will schedule a
     hearing on the motion and you will be served with a notice of the date, time,
     and location of the hearing.

      If you or your attorney do not take these steps, the court may decide
that you do not oppose the relief sought in the motion and may enter an order
granting that relief.


                                              THE TAUNT LAW FIRM

                                              /s/ Dean R. Nelson, Jr.
Dated: November 30, 2021                      Dean R. Nelson, Jr. (P70818)
                                              Attorney for Trustee
                                              700 E. Maple Rd., Second Floor
                                              Birmingham, MI 48009
                                              (248) 644-7800
                                              dnelson@tauntlaw.com




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                        Exhibit 3 – Certificate of Service




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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:

Moose M. Scheib,                                 Case No. 21-42581
                                                 Chapter 7
                                                 Honorable Mark A. Randon
      Debtor.
________________________________/
                     CERTIFICATE OF SERVICE

I certify that on November 30, 2021, I electronically filed the Chapter 7 Trustee’s
Motion for Turnover of Documents, Notice of the Motion, and this Certificate
of Service via the Court’s ECF system:

   •     Jeffrey H. Bigelman jhb_ecf@osbig.com, tc@osbig.com;mk@osbig.com
   •     Karen E. Evangelista kee1008_tee@sbcglobal.net,
         MI30@ecfcbis.com;kee@trustesolutions.net
   •     Brandan A. Hallaq bhallaq@hirzellaw.com
   •     Brittany Jones jonesb50@michigan.gov
   •     Alexa Lacaria-Sabiry asabiry@hirzellaw.com
   •     Thomas Eugene McDonald thomas.mcdonald@brockandscott.com,
         wbecf@brockandscott.com;mibkr@brockandscott.com
   •     Dean R. Nelson dnelson@tauntlaw.com,
         ecarter@tauntlaw.com;mmartin@tauntlaw.com
   •     Natalie Christa Qandah natalie@vidalawpllc.com
   •     Solomon M. Radner sradner@venjohnsonlaw.com,
         kmoore@venjohnsonlaw.com;pdoherty@venjohnsonlaw.com;jbrown@venjohnso
         nlaw.com;mhunter@venjohnsonlaw.com;msinkovich@venjohnsonlaw.com

I further certify that on November 30, 2021, I served, by United States First Class
Mail, the Chapter 7 Trustee’s Motion for Turnover of Documents, Notice of
the Motion and this Certificate of Service to the following:

Moose M. Scheib
15 Bradford Ct., Unit 27
Dearborn, MI 48126



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                                     THE TAUNT LAW FIRM
                                     By: /s/ Margaret A. Martin
                                     The Taunt Law Firm
                                     Attorney for Trustee
                                     700 East Maple Road, Second Floor
Dated: November 30, 2021             Birmingham, MI 48009




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